                                     Case 2:20-cv-05999-SB-PD Document 58 Filed 02/28/22 Page 1 of 3 Page ID #:583



                                       1   JAMES A. MARISSEN (SBN: 257699)
                                           jmarissen@grsm.com
                                       2   RACHEL A. WEITZMAN (SBN: 307076)
                                           rweitzman@grsm.com
                                       3   GORDON REES SCULLY MANSUKHANI, LLP
                                           5 Park Plaza, Suite 1100
                                       4   Irvine, CA 92614
                                           Telephone: (949) 255-6996
                                       5   Facsimile: (949) 474-2060
                                       6   Attorneys for Plaintiff
                                           APL CO. PTE LTD
                                       7
                                       8                         UNITED STATES DISTRICT COURT
                                       9                        CENTRAL DISTRICT OF CALIFORNIA
                                      10
                                      11   APL CO. PTE LTD                                CASE NO. 2:20-cv-05999-SB-
Gordon Rees Scully Mansukhani, LLP




                                                                                          PD
                                      12                             Plaintiff,
      5 Park Plaza, Suite 1100




                                                                                          APPLICATION FOR
                                      13         vs.                                      DEFAULT JUDGMENT
         Irvine, CA 92614




                                                                                          AGAINST ANDPLASTIC
                                      14   TDR LOGISTICS INC.; ANDPLASTIC                 TRADE LTD. UNDER FED.
                                           TRADE LTD.; and ANDPLASTIC                     R. CIV. P. 55(b)(2)
                                      15   TRADE CO., LTD.
                                                                                          Date: April 1, 2022
                                      16                             Defendants.          Time: 8:30 a.m.
                                                                                          Dept.: 6C
                                      17
                                      18
                                      19
                                                 PLEASE TAKE NOTICE THAT on April 1, 2022, at 8:30 a.m., or as
                                      20
                                           soon thereafter as this matter may be heard by the above-entitled Court, located at
                                      21
                                           U.S. Courthouse, 350 West 1st Street, Los Angeles, California 90012 Courtroom
                                      22
                                           6C, Plaintiff APL CO. PTE LTD (“APL” or “Plaintiff”) will present its application
                                      23
                                           for a default judgment against Defendant ANDPLASTIC TRADE LTD.
                                      24
                                           (“ANDPLASTIC”). The clerk previously entered the default of ANDPLASTIC on
                                      25
                                           March 9, 2021 on the Complaint.
                                      26
                                                 At the time and place of hearing, Plaintiff will present proof of the following
                                      27
                                           matters:
                                      28
                                                                                    -1-
                                                       APPLICATION FOR DEFAULT JUDGMENT UNDER FED. R. CIV. P. 55(b)(2)
                                     Case 2:20-cv-05999-SB-PD Document 58 Filed 02/28/22 Page 2 of 3 Page ID #:584



                                       1         1.      Defendant ANDPLASTIC is not a minor or incompetent person or in
                                       2   military service or otherwise exempted under the Soldiers' and Sailors' Civil Relief
                                       3   Act of 1940 as ANDPLASTIC is a corporation existing under the laws of the
                                       4   Republic of the Marshall Islands.
                                       5         2.      ANDPLASTIC has not appeared in this action.
                                       6         3.      Notice of this application for default judgment by court was served on
                                       7   said Defendant ANDPLASTIC on February 28, 2022, by FedEx and Overnight Mail,
                                       8   as required by Local Rule 55-1.
                                       9         4.      Plaintiff is entitled to judgment against ANDPLASTIC on account of
                                      10   the claims pleaded in the Complaint. To wit, the Complaint in this action sets out a
                                      11   valid claim for breach of maritime contract against ANDPLASTIC as follows:
Gordon Rees Scully Mansukhani, LLP




                                      12              a. ANDPLASTIC was the named shipper under the following bills of
      5 Park Plaza, Suite 1100




                                      13                 lading: (1) AVB0100146; (2) AYU0212485; (3) AYU0221035; and
         Irvine, CA 92614




                                      14                 (4) AYU0221101 (collectively “APL Bills of Lading”).
                                      15              b. There were eight (8) containers shipped under the APL Bills of
                                      16                 Lading (“Containers”).
                                      17              c. As the named shipper, ANDPLASTIC qualifies as a “merchant” under
                                      18                 Clause 1 of the Standard Terms and Conditions applicable to the four
                                      19                 (4) APL Bills of Lading.
                                      20              d. As a “merchant” ANDPLASTIC, was the entity for whose account the
                                      21                 transportation services were provided by APL, was the party that
                                      22                 received and benefitted from the transportation services provided by
                                      23                 APL, and was the entity responsible for payment of charges relating to
                                      24                 the shipment of containers under the four (4) APL Bills of Lading.
                                      25              e. ANDPLASTIC tendered the containers under the APL Bills of Lading
                                      26                 for transportation, for which freight and other charges were lawfully
                                      27                 incurred pursuant to the terms of the four (4) APL Bills of Lading
                                      28                 and/or applicable marine tariff(s).
                                                                                    -2-
                                                        APPLICATION FOR DEFAULT JUDGMENT UNDER FED. R. CIV. P. 55(b)(2)
                                     Case 2:20-cv-05999-SB-PD Document 58 Filed 02/28/22 Page 3 of 3 Page ID #:585



                                       1              f. APL delivered the containers under the APL Bills of Lading to the
                                       2                 Port of Jakarta, Indonesia and were made available for collection. To
                                       3                 date, ANDPLASTIC has failed to take delivery of the Containers
                                       4                 under the APL Bills of Lading as they have been seized by the
                                       5                 Indonesian Government for ANDPLASTIC’s failure to comply with
                                       6                 import regulations.
                                       7              g. As a result of ANDPLASTIC’s failure to take delivery of the
                                       8                 containers under the APL Bills of Lading, APL has incurred damages,
                                       9                 liabilities, charges, expenses, fees and costs for detention and
                                      10                 demurrage, logistics and storage.
                                      11              h. Under Clauses 11 and 26 of the Standard Terms and Conditions
Gordon Rees Scully Mansukhani, LLP




                                      12                 applicable to the four (4) APL Bills of Lading, ANDPLASTIC is
      5 Park Plaza, Suite 1100




                                      13                 obligated to pay these damages, liabilities, charges, expenses, fees and
         Irvine, CA 92614




                                      14                 costs for detention and demurrage, logistics and storage costs.
                                      15         5.      The amount of judgment sought is the sum of US$705,039.33 as of
                                      16   January 31, 2022, as set forth in the attached declaration of Prantika Sengupta.
                                      17         This Application is based on this document, the accompanying declarations
                                      18   of Prantika Sengupta and James Marissen, and on all of the pleadings and papers
                                      19   on file in this action, and on whatever evidence and argument that may be
                                      20   presented at a hearing on this motion.
                                      21
                                            Dated: February 28, 2022                    GORDON REES SCULLY
                                      22                                                MANSUKHANI, LLP
                                      23
                                      24                                                By: /s/ James A. Marissen
                                                                                            James A. Marissen
                                      25                                                    Rachel A. Weitzman
                                      26                                                    Attorneys for Plaintiff
                                                                                            APL CO. PTE LTD
                                      27
                                      28
                                                                                     -3-
                                                        APPLICATION FOR DEFAULT JUDGMENT UNDER FED. R. CIV. P. 55(b)(2)
